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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF SOUTH CAROLINA
                                 CHARLESTON DIVISION


        MST, LLC,                                )              No. 2:22-cv-00874-DCN
                                                 )
                               Plaintiff,        )
                                                 )
                     v.                          )      DEFENDANT GEORGETOWN
                                                 )    MEMORIAL HOSPITAL’S MOTION
        North American Land Trust and            )   FOR SUMMARY JUDGMENT ON THE
        Georgetown Memorial Hospital,            )   COMPLAINT OF PLAINTIFF MST, LLC
                                                 )
                               Defendants.       )
                                                 )

       Defendant Georgetown Memorial Hospital (“GMH”) respectfully moves this Court for

summary judgment under Rule 56 of the Federal Rules of Civil Procedure in its favor on the sole

claim (seeking a declaratory judgment) brought against it in the Complaint (ECF No. 1) of Plaintiff

MST, LLC (“MST”). In support of this motion, and as fully detailed in the memorandum in

support of summary judgment filed herewith, GMH hereby states the following:

       1.      This case is about MST’s attempt to assert dominion and control over GMH’s

property by seeking to invalidate a 2008 amendment to a conservation easement that formerly

encumbered GMH’s property. In its efforts to invalidate the amendment, MST ultimately seeks

to enforce the restrictions of the original conservation easement on GMH’s property to ensure that

the property cannot be developed. In other words, through this lawsuit MST seeks to control what

can and cannot be done on GMH’s property, despite the undisputed fact that MST does not own,

and has never owned, the property. Moreover, through this lawsuit, MST impermissibly seeks to

invalidate the actions of its own predecessors-in-interest, who, along with the North American

Land Trust, executed the 2008 amendment thereby releasing GMH’s property from the restrictions

imposed by the original conservation easement.
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       2.      GMH is entitled to summary judgment on MST’s claim.

       3.      As a threshold issue, MST has never had any interest in GMH’s property, and thus

MST lacks standing to bring this action over a conservation easement formerly existing on GMH’s

property. See S.C. Code Ann. § 27-8-40; Floyd v. Dross, 442 S.C. 79, 897 S.E.2d 191 (Ct. App.

2024), reh’g denied (Feb. 15, 2024), cert. denied (Oct. 30, 2024).

       4.      Yet, even if MST were to have standing, GMH still would be entitled to summary

judgment for multiple separate reasons:

            a. First, MST must be estopped from challenging the validity of the 2008
               amendment removing the conservation easement on GMH’s property
               because the former owners who sold GMH its property and executed that
               amendment also sold MST its own separate property in 2010; MST thus
               stands in the shoes of its predecessors-in-interest to MST’s property—i.e.,
               the very couple who sold the property at issue to GMH and executed the
               very easement amendment in order to secure GMH’s purchase of that
               property. See O’Cain v. O’Cain, 322 S.C. 551, 473 S.E.2d 460 (Ct. App.
               1996); Watson v. Watson, 172 S.C. 362, 174 S.E. 33 (1934); Thompson v.
               Hudgens, 161 S.C. 450, 159 S.E. 807 (1931); Kerr v. City of Columbia, 232
               S.C. 405, 102 S.E.2d 364 (1958).

            b. MST further must be estopped from denying the validity of the 2008
               amendment removing the conservation easement’s restrictions because
               MST purchased its own property expressly “subject to” and with full
               knowledge of the 2008 amendment’s effects. See 28 AM. JUR. 2D Estoppel
               and Waiver § 5 (Jan. 2025 update); 7 S.C. JUR. Estoppel and Waiver § 7
               (Feb. 2025 update); see also Gibson v. Lyon, 115 U.S. 439, 447–48 (1885);
               Peoples Fed. Sav. & Loan Ass’n v. Myrtle Beach Golf & Yacht Club, 310
               S.C. 132, 151, 425 S.E.2d 764, 776 (Ct. App. 1992); Long Grove at Seaside
               Farms, LLC v. Long Grove Property Owners’Ass’n, Inc., No. 2009-CP-10-
               06746, 2012 WL 10890587, at *15 (S.C. Ct. Com. Pls. July 23, 2012);
               Keller v. Parish, 196 N.C. 733, 147 S.E. 9 (1929); J.H. Williams Oil Co. v.
               Harvey, 872 So. 2d 287, 289 (Fla. Dist. Ct. App. 2004).

            c. What’s more, MST’s failure to raise any objections to the validity of that
               2008 amendment until 2022 after purchasing its own property in 2010
               renders its claim barred by the doctrine of laches. See Richey v. Dickinson,
               359 S.C. 609, 598 S.E.2d 307 (Ct. App. 2004).

            d. Additionally, because GMH is a bona fide purchaser for value with respect
               to the property it purchased, GMH took title thereto without any



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               encumbrance from the prior conservation easement—even if the 2008
               amendment was deficient. See Spence v. Spence, 368 S.C. 106, 628 S.E.2d
               869 (2006); S.C. Code Ann. § 30-7-1; Goodwin v. Harrison, 231 S.C. 243,
               98 S.E.2d 255 (1957); 77 AM. JUR. 2D Vendor and Purchaser § 379 (May
               2023 update).

            e. Finally, GMH is entitled to summary judgment because the 2008
               amendment is valid and fully effected the removal of the prior conservation
               easement’s restrictions on GMH’s property. See Pine Mountain Pres.,
               LLLP v. Comm’r of Internal Revenue, 978 F.3d 1200 (11th Cir. 2020); S.C.
               Code Ann. § 27-8-10 et seq.; Belk v. C.I.R., 774 F.3d 221 (2014).

       5.      True and correct copies of the following are attached hereto as exhibits in support

of this Motion:

            a. the document prepared by the North American Land Trust in 2003 entitled
               Weehaw Plantation: Baseline Documentation, previously filed as ECF No.
               1-2, attached hereto as Exhibit A;

            b. the General Warranty Deed of April 29, 1988 conveying title to Weehaw
               Plantation to Larry D. Young, attached hereto as Exhibit B;

            c. the Title to Real Estate of May 3, 1988 conveying a one-half undivided
               interest in Weehaw Plantation to Judy S. Young, attached hereto as Exhibit
               C;

            d. the Complaint of MST, previously filed as ECF No. 1, attached hereto as
               Exhibit D;

            e. excerpts of the transcript of the deposition of Daniel Wayne Stacy, Jr., Esq.
               held on February 13, 2025, attached hereto as Exhibit E;

            f. Ordinance No. 2008-65, adopted by Georgetown County on November 10,
               2008, attached hereto as Exhibit F;

            g. the Amendment to Conservation Easement and Declaration of Restrictive
               Covenants dated December 19, 2008, previously filed as ECF No. 31-3,
               attached hereto as Exhibit G;

            h. the Title to Real Estate of December 30, 2008 conveying title in the Hospital
               Property, previously filed as ECF No. 77-1, attached hereto as Exhibit H;

            i. the Title to Real Estate of June 16, 2010 conveying title to the Weehaw
               Balance to MST, previously filed as ECF No. 30-1, attached hereto as
               Exhibit I;



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            j. excerpts of the transcript of the deposition of James Joseph Murren, held on
               August 12, 2024, attached hereto as Exhibit J;

            k. GMH Application to Amend Planned Development submitted to
               Georgetown County, previously filed as a portion of ECF No. 1-5, attached
               hereto as Exhibit K;

            l. letter of May 7, 2021 from MST’s counsel to Georgetown County Council,
               previously filed as ECF No. 1-4, attached hereto as Exhibit L;

            m. excerpts of the transcript of the deposition of Bruce Bailey, as representative
               of GMH under Rule 30(b)(6) of the Federal Rules of Civil Procedure,
               attached hereto as Exhibit M;

            n. excerpts of the transcript of deposition of Steven W. Carter (North
               American Land Trust’s 30(b)(6) witness) held on January 14, 2025,
               attached hereto as Exhibit N;

            o. GMH’s Answers to NALT’s First Set of Interrogatories dated October 11,
               2023, attached hereto as Exhibit O; and

            p. the Title to Real Estate (Corrective) of August 10, 2009 clarifying that the
               conveyance set forth in Exhibit N should have been to GMH rather than
               Georgetown Hospital System, attached hereto as Exhibit P.

       6.      Based on the foregoing reasons, the attachments to this motion, and the full

argument detailed in the memorandum in support of summary judgment filed herewith, GMH

respectfully requests that this Court grant summary judgment in its favor on the sole claim brought

against it by MST and that this Court dismiss MST’s action.


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Myrtle Beach, South Carolina
April 1st, 2025




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